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                     UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY
                          CAMDEN VICINAGE

 IN RE: VALSARTAN, LOSARTAN,                   MDL No. 2875
 AND IRBESARTAN PRODUCTS
 LIABILITY LITIGATION                          Honorable Renée Marie Bumb
                                               District Court Judge
 THIS DOCUMENT RELATES TO:
 Gaston Roberts et al. v. Zhejiang
 Huahai Pharmaceutical Co., et al.,

 Case No. 1:20-cv-00946-RBK-JS

  DECLARATION OF NINA ROSE IN SUPPORT OF DEFENDANTS’ MOTION
 FOR SUMMARY JUDGMENT AND STATEMENT OF MATERIAL FACTS NOT
                         IN DISPUTE

       I, Nina Rose, declare as follows:

       I am an attorney and a partner with the law firm Kirkland & Ellis LLP,

 counsel for Defendants Zhejiang Huahai Pharmaceutical Co., Ltd., Solco

 Healthcare U.S., LLC, and Prinston Pharmaceutical Inc. (“Defendants”) in the

 above-captioned matter. The facts stated in this Declaration are true of my own

 personal knowledge. I submit this Declaration in Support of Defendants’

 Memorandum of Law in Support of Motion for Summary Judgment and

 Defendants’ Statement of Material Facts Not in Dispute.

 1.    Attached hereto as Exhibit 1 is a true and correct copy of the Second

       Amended Plaintiff Fact Sheet.

 2.    Attached hereto as Exhibit 2 is a true and correct copy of bates stamped



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       documents GRobertsJr-DCPOA-0000001 and GRobersJr-CA-000014.

 3.    Attached hereto as Exhibit 3 is a true and correct copy of the Complaint in

       Kruk v. Zhejiang Huahai Pharm. Co., No. 18-cv-005944 (N.D. Ill. Aug. 29,

       2018).

 4.    Attached hereto as Exhibit 4 is a true and correct copy of Willy Gomm et

       al., N-Nitrosodimethylamine-Contaminated Valsartan and the Risk of

       Cancer, 118 Deutsches Arzteblatt Int’l 357 (2021).

 5.    Attached hereto as Exhibit 5 is a true and correct copy of Imene Mansouri et

       al., N-nitrosodimethylamine-Contaminated Valsartan and Risk of Cancer: A

       Nationwide Study of 1.4 Million Valsartan Users, 11(24) J. Am. Heart Ass’n

       1 (2022).

 6.    Attached hereto as Exhibit 6 is a true and correct copy of the Deposition

       Transcript of Dr. William Sawyer, Ph.D., dated May 1, 2025.

 7.    Attached hereto as Exhibit 7 is a true and correct copy of the Expert Report

       of Fareeha Siddiqui, dated Mar. 10, 2025.

 8.    Attached hereto as Exhibit 8 is a true and correct copy of bates stamped

       documents GRobertsJr-TH-MD-000943-45.

 9.    Attached hereto as Exhibit 9 is a true and correct copy of the Expert Report

       of Christopher M. Mele, M.D., dated Mar. 9, 2025.

 10.   Attached hereto as Exhibit 10 is a true and correct copy of the Deposition



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       Transcript of Christopher M. Mele, M.D., dated May 8, 2025.

 11.   Attached hereto as Exhibit 11 is a true and correct copy of the Deposition

       Transcript of Fareeha Siddiqui, M.D., dated Apr. 29, 2025.

 12.   Attached hereto as Exhibit 12 is a true and correct copy of Kazuo Tarao et

       al., Real impact of liver cirrhosis on the development of hepatocellular

       carcinoma in various liver diseases—meta‐analytic assessment, 8 Cancer

       Med. 1054 (2019).

 13.   Attached hereto as Exhibit 13 is a true and correct copy of Rongtao Lai et

       al., Incidence rates of hepatocellular carcinoma based on risk stratification

       in steatotic liver disease for precision medicine: A real-world longitudinal

       nationwide study, PLoS Med. (2024).

 14.   Attached hereto as Exhibit 14 is a true and correct copy of Bonnie

       Bengtsson et al., The risk of hepatocellular carcinoma in cirrhosis differs by

       etiology, age and sex: A Swedish nationwide population-based cohort study,

       10 United European Gastroenterology J. 465 (2022).

 15.   Attached hereto as Exhibit 15 is a true and correct copy of the Deposition

       Transcript of Samuel Hooks, M.D., dated Jan. 29, 2025.

 16.   Attached hereto as Exhibit 16 is a true and correct copy of Amit G. Singal et

       al., AASLD Practice Guidance on prevention, diagnosis, and treatment of

       hepatocellular carcinoma, 78 Hepatology 1922, 1929 (2023).



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 17.   Attached hereto as Exhibit 17 is a true and correct copy of EASL [European

       Association for the Study of the Liver] Clinical Practice Guidelines on the

       management of hepatocellular carcinoma, 82 J. of Hepatology 315 (2025).

 18.   Attached hereto as Exhibit 18 is a true and correct copy of Yuri Cho et al.,

       Overview of Asian clinical practice guidelines for the management of

       hepatocellular carcinoma: An Asian perspective comparison, 29 Clinical &

       Molecular Hepatology 252 (2023).

 19.   Attached hereto as Exhibit 19 is a true and correct copy of bates stamped

       documents GRobertsJR-CA-000722, GRobertsJR-ESMS-000016-20,

       GRobertsJR-ESMS-000051-56, GRobertsJR-ESMS-000045-50,

       GRoberts-ESMS00002-6, GRobertsJR-AMG-000032-35,

       GRobertsJR-AMG-000028-30, GRobertsJR-CA-000209-11.

 20.   Attached hereto as Exhibit 20 is a true and correct copy of the Deposition

       Transcript of Darryle P. Bullard, M.D., dated Feb. 13, 2025.

 21.   Attached hereto as Exhibit 21 is a true and correct copy of the Deposition

       Transcript of Donald B. Sanders, M.D., dated Oct. 8, 2021.

 22.   Attached hereto as Exhibit 22 is a true and correct copy of Marc-Andre

       Cornier et al., Assessing adiposity: a scientific statement from the American

       Heart Association, 124 Circulation 1996, 1997 (2011).

 23.   Attached hereto as Exhibit 23 is a true and correct copy of Xuancheng Xie



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       et al., Correlation analysis of metabolic characteristics and the risk of

       metabolic-associated fatty liver disease -related hepatocellular carcinoma,

       Scientific Reports (2022).

 24.   Attached hereto as Exhibit 24 is a true and correct copy of Baek Gyu Jun et

       al., Impact of overweight and obesity on the risk of hepatocellular

       carcinoma: a prospective cohort study in 14.3 million Koreans, 127 Brit. J.

       of Cancer 109 (2022).

 25.   Attached hereto as Exhibit 25 is a true and correct copy of Yi Chen et al.,

       Excess body weight and the risk of primary liver cancer: An updated meta-

       analysis of prospective studies, 48 Eur. J. of Cancer 2137 (2012).

 26.   Attached hereto as Exhibit 26 is a true and correct copy of Mary E. Rinella

       et al., A multisociety Delphi consensus statement on new fatty liver disease

       nomenclature, 79 J. of Hepatology 1542 (2023).

 27.   Attached hereto as Exhibit 27 is a true and correct copy of bates stamped

       document GRobertsJr-CA-000654 through GRobertsJr-CA-000655.

 28.   Attached hereto as Exhibit 28 is a true and correct copy of bates stamped

       document GRobertsJr-ESMS-000029 through GRobertsJr-ESMS-000033.

 29.   Attached hereto as Exhibit 29 is a true and correct copy of bates stamped

       document GRobertsJr-CA-000661 through GRobertsJr-CA-000663.

 30.   Attached hereto as Exhibit 30 is a true and correct copy of Fahim Ebrahimi,



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       et al., Familial coaggregation of MASLD with hepatocellular carcinoma and

       adverse liver outcomes: Nationwide multigenerational cohort study, 79 J. of

       Hepatology 1374 (2023).

 31.   Attached hereto as Exhibit 31 is a true and correct copy of bates stamped

       document GRobertsJr-CA-000729.

 32.   Attached hereto as Exhibit 32 is a true and correct copy of Ping Wang et al.,

       Diabetes mellitus and risk of hepatocellular carcinoma: a systematic review

       and meta-analysis, 28 Diabetes Metab. Res. Rev. 109 (2012).

 33.   Attached hereto as Exhibit 33 is a true and correct copy of bates stamped

       document GRobertsJr-PPR-000135 through GRobertsJr-PPR-000152.

 34.   Attached hereto as Exhibit 34 is a true and correct copy of bates stamped

       document GRobertsJR-TH-MD-001031 and GRobertsJR-TH-MD-001026-

       001029.

 35.   Attached hereto as Exhibit 35 is a true and correct copy of bates stamped

       documents GRobertsJr-UABHIM-MD-000002-6, GRobertsJr-PPR-000106,

       and GRobertsJR-PPR-0000235.

 36.   Attached hereto as Exhibit 36 is a true and correct copy of the Deposition

       Transcript of Mark Lockhart, M.D., dated Feb. 13, 2025.

 37.   Attached hereto as Exhibit 37 is a true and correct copy of bates stamped

       document GRobertsJr-UABHIM-MD-00083 through GRobertsJr-UABHIM-



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       MD-00090.

 38.   Attached hereto as Exhibit 38 is a true and correct copy of bates stamped

       document GROBERTSJR-SouCC-000250 through GROBERTSJR-SouCC-

       000251.

 39.   Attached hereto as Exhibit 39 is a true and correct copy of bates stamped

       document GRobertsJr-UABHIM-MD-00029 through GRobertsJr-UABHIM-

       MD-00037.

 40.   Attached hereto as Exhibit 40 is a true and correct copy of bates stamped

       document GRobertsJr-PPR-000093 through GRobertsJr-PPR-000097.

       I certify under penalty of perjury that the foregoing is true and correct.

 Dated: May 22, 2025                           Respectfully submitted,

                                               /s/ Nina R. Rose
                                               Nina R. Rose (pro hac vice)
                                               KIRKLAND & ELLIS LLP
                                               1301 Pennsylvania Avenue
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                                               Pharmaceutical Inc.




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                           CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on May 22, 2025, a true and correct copy of the

 foregoing document was served upon counsel of record via operation of the

 Court’s electronic filing system.


 Dated: May 22, 2025                         Respectfully submitted,

                                             /s/ Nina R. Rose
                                             Nina R. Rose (pro hac vice)
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